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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:08CR135
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
ROBERT K. MORRIS,                                )
                                                 )
                    Defendant.                   )


      This matter is before the Court on the motion of defendant Robert K. Morris (Morris)
to extend the deadline for filing pretrial motions (Filing No. 37). The motion erroneously
states the pretrial motion deadline is June 11, 2008, whereas, the deadline was set for
June 24, 2008. See Filing No. 31.
      Accordingly, the motion (Filing No. 37) is denied as moot.


      IT IS SO ORDERED.


      DATED this 12th day of June, 2008.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
